Case 4:22-cr-00289-SDJ-KPJ Document 12 Filed 01/24/23 Page 1 of 2 PageID #: 22




                             UNITED STATES DISTRICT COURT

                               EASTERN DISTRICT OF TEXAS

                                     SHERMAN DIVISION

UNITED STATES OF AMERICA                      §
                                              §
V.                                            §             NO. 4:22CR289
                                              §             (Judge Jordan)
GUY WESLEY REFFITT                            §


                         NOTICE OF ATTORNEY APPEARANCE


TO THE HONORABLE SEAN D JORDAN, JUDGE OF THE UNITED STATES DISTRICT
COURT FOR THE EASTERN DISTRICT OF TEXAS:

       COMES NOW Assistant Federal Public Defender, Michelle Allen-McCoy, for the Eastern

District of Texas, the undersigned and notices the Court of the Federal Defender’s intent to

substitute Michelle Allen-McCoy, Assistant Federal Defender, Sherman Division, for Michael

Pannitto, as counsel for defendant in this cause. The undersigned, Michelle Allen-McCoy,

Assistant Federal Defender, should be formally substituted as attorney of record for the defendant,

and all further pleadings and papers should be served on:

                      Michelle Allen-McCoy
                      Assistant Federal Defender
                      State Bar No.24052252
                      7460 Warren Pkwy, Suite 270
                      Frisco, Texas 75034
                      (469) 362-8506
                      (469) 362-6010 FAX
Case 4:22-cr-00289-SDJ-KPJ Document 12 Filed 01/24/23 Page 2 of 2 PageID #: 23




                                                     Respectfully Submitted,




                                                     /s/ Michelle Allen-McCoy
                                                     MICHELLE ALLEN-MCCOY
                                                     State Bar No. 24052252
                                                     Assistant Federal Defender
                                                     Federal Defender's Office
                                                     7460 Warren Pkwy, Suite 270
                                                     Frisco, Texas 75034
                                                     469/362-8506
                                                     469/362-6010 (FAX)




                                CERTIFICATE OF SERVICE


        I hereby certify that a true and correct copy of the above and foregoing instrument has been
furnished to William Tatum, Assistant U.S. Attorney, presently assigned to this case, via
electronic court filing system, on this the 24th     day of January, 2023.




                                                     /s/ Michelle Allen-McCoy
                                                     MICHELLE ALLEN-MCCOY
